                   Case 2:23-cv-01304-AB-AGR          Document 197   Filed 10/16/24        Page 1 of 9 Page ID
                                                            #:1808



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                     9 Attorneys for Defendants EXP REALTY, LLC, EXP
                       WORLD HOLDINGS, INC. and GLENN SANFORD
                    10
                    11                            UNITED STATES DISTRICT COURT
                    12                          CENTRAL DISTRICT OF CALIFORNIA
                    13
                    14 FABIOLA ACEVEDO, JANE DOE 1,                      Case No. 2:23-cv- 01304-AB-AGR
                       JANE DOE 2, JANE DOE 3, and
                    15 JOHN DOE 1,                                       SECOND JOINT STIPULATION
                                                                         TO MODIFY THE SCHEDULING
                    16                  Plaintiffs,                      ORDER
                    17            vs.
                    18 EXP REALTY, LLC, EXP WORLD                        Trial Date:           April 25, 2025
                       HOLDINGS, INC., MICHAEL L.
                    19 BJORKMAN; DAVID S. GOLDEN;
                       GLENN SANFORD; BRENT GOVE;
                    20 and DOES 1-10,
                    21                  Defendants.
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                         147296282.1                                 1                 Case No. 2:23-cv- 01304-AB-AGR
ATTORNEYS AT LAW                                            SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR        Document 197    Filed 10/16/24   Page 2 of 9 Page ID
                                                          #:1809



                     1                 STIPULATION TO MODIFY THE SCHEDULING ORDER
                     2            Counsel for defendants eXp Realty, LLC, eXp World Holdings, Inc., and
                     3 Glenn Sanford (collectively “eXp Defendants”), defendant Michael L. Bjorkman
                     4 (“Defendant Bjorkman”), defendant David S. Golden (“Defendant Golden”),
                     5 defendant Brent Gove (“Defendant Gove”), and plaintiffs Fabiola Acevedo, Tami
                     6 Sims, Christiana Lundy, and Jane Doe 3 (together “the Plaintiffs”) (collectively the
                     7 “Parties”) hereby submit the following stipulation to Modify the Court’s Scheduling
                     8 Order (See Dkt. No. 171):
                     9 1.         SUMMARY OF MOTION PRACTICE, PROCEDURE AND
                    10            DISCOVERY
                    11            A.     Defendants’ Motions To Dismiss And Hearings
                    12            WHEREAS, on April 13, 2023 the eXp Defendants filed their Motion to
                    13 Dismiss Plaintiff’s First Amended Complaint (“eXp Motion”) (ECF No. 41);
                    14            WHEREAS, on May 26, 2023 Defendant Gove filed his Motion to Dismiss
                    15 (“Gove Motion”) (ECF No. 63);
                    16            WHEREAS, on June 27, 2023, Defendant Bjorkman filed his Motion to
                    17 Dismiss (“Bjorkman Motion”) (ECF No. 77);
                    18            WHEREAS, on January 29, 2024, the court issued its Order Denying in part
                    19 and Granting in Part Defendants’ motions to dismiss (ECF No. 163);
                    20            WHEREAS, on February 28, 2024, Plaintiffs filed their Second Amended
                    21 Complaint (ECF No. 165);
                    22            WHEREAS, on March 4, 2024, the Magistrate entered the parties’ Stipulated
                    23 Protective Order to facilitate discovery (ECF No. 167);
                    24            WHEREAS, on March 4, 2024, the parties filed their Joint Stipulation to
                    25 Modify the Scheduling order (ECF No. 168);
                    26            WHEREAS, on March 7, 2024, the entered its Modified Scheduling Order
                    27 (ECF No. 171);

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ATTORNEYS AT LAW                                           SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR        Document 197     Filed 10/16/24   Page 3 of 9 Page ID
                                                          #:1810



                     1            WHEREAS, in March 13, 2024, Defendants Bjorkman, Golden and Gove
                     2 filed their answers to Plaintiffs’ Second Amended Complaint (ECF Nos. 173, 174 &
                     3 175);
                     4            WHEREAS, on March 22, 2024, Defendant eXp filed its answer to Plaintiffs’
                     5 Second Amended Complaint (ECF No. 181);
                     6            B.    Summary Of The Parties Discovery To Date
                     7            WHEREAS, on December 29, 2023, the parties exchanged their Initial
                     8 Disclosures;
                     9            WHEREAS, Plaintiffs have identified approximately seventy (70) witnesses;
                    10            WHEREAS, the parties have exchanged their respective Rule 34 Requests;
                    11            WHEREAS, the parties have responded to the respective Rule 34 Requests;
                    12            WHEREAS, while the parties have exchange documents, they continue to
                    13 meet and confer regarding an ESI Protocol regarding the exchange of electronically
                    14 stored information;
                    15            WHEREAS, on July 29, 2024, the parties filed their Joint Stipulation for a
                    16 Deposition Protocol (ECF No. 191);
                    17            WHEREAS, on July 30, 2024, the Magistrate entered into an order the Joint
                    18 Stipulation for a Deposition Protocol (ECF No. 192);
                    19            WHEREAS, on August 22, 2024, the eXp Defendants produced for
                    20 deposition their designee for Plaintiffs’ Rule 30b6 Deposition Notice as to the
                    21 category identified as corporate structure;
                    22            WHEREAS, on August 27, 2024, the eXp Defendants produced for
                    23 deposition their designee for Plaintiffs Rule 30b6 Deposition Notice as to the
                    24 category identified as complaint handling;
                    25            WHEREAS, Defendant Golden has Noticed the Deposition of a third-party
                    26 witness, Brady Nelson, for October 14, 2024, which was to take place in Florida;
                    27            WHEREAS, Plaintiffs and the eXp Defendants noticed the deposition of

LEWIS               28 Defendant Golden for October 15, 2024;
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                         147296282.1                                 3           Case No. 2:23-cv- 01304-AB-AGR
ATTORNEYS AT LAW                                            SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR        Document 197    Filed 10/16/24   Page 4 of 9 Page ID
                                                          #:1811



                     1            WHEREAS, Defendant Golden’s counsel has declined to produce Defendant
                     2 Golden on October 15, 2024 or any other date, pending the finalization of the ESI
                     3 Protocol and the production of electronically stored information which is currently
                     4 subject to a discovery dispute;
                     5            WHEREAS, due to Hurricane Milton, the deposition of Brady Nelson was
                     6 continued to a later date for November;
                     7            WHEREAS, Plaintiffs and the eXp Defendants have Noticed the Deposition
                     8 of third party witness Fee Gentry for October 18, 2024;
                     9            WHEREAS, the eXp Defendants noticed the depositions of third party
                    10 witnesses Seth and Noelle Nielsen for October 24 & 25, 2024, respectively;
                    11            WHEREAS, the eXp Defendants have requested Plaintiffs’ availability for
                    12 depositions for the week of November 11, 2024;
                    13            WHEREAS, the eXp Defendants have requested Plaintiffs’ availability for
                    14 psychiatric evaluations to occur after Plaintiffs’ depositions;
                    15            WHEREAS, all counsel continue to meet and confer on scheduling the
                    16 deposition of Plaintiffs;
                    17            WHEREAS, Plaintiffs have noticed the deposition of Defendant Gove for
                    18 November 6, 2024;
                    19            WHEREAS, the eXp Defendants have agreed to produce Defendant Glenn
                    20 Sanford for his deposition on November 8, 2024;
                    21            WHEREAS, Plaintiffs’ counsel has agreed to make Plaintiffs available for the
                    22 week of November 11, 2024 for their depositions;
                    23            WHEREAS, counsel for Defendant David Golden is set for trial beginning on
                    24 November 13, 2024, and counsel for Defendant Michael Bjorkman is not available
                    25 on November 11, 2024, ruling out depositions of Plaintiffs for the week of
                    26 November 11, 2024;
                    27 / / /

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ATTORNEYS AT LAW                                           SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR         Document 197     Filed 10/16/24   Page 5 of 9 Page ID
                                                           #:1812



                     1            WHEREAS, due to a conflict, Seth and Noelle Nielsen’s depositions have
                     2 been continued from October 24 & 25, 2024, and rescheduled for November 20 &
                     3 21, 2024 respectively;
                     4            WHEREAS, the parties recently finalized their ESI Protocol to facilitate the
                     5 exchange of electronically stored information;
                     6            WHEREAS, both the eXp Defendants and Plaintiffs have yet to complete the
                     7 production of electronically stored information;
                     8            WHEREAS, the parties still need to meet and confer regarding the scheduling
                     9 of Plaintiffs’ depositions and then their respective psychiatric evaluations;
                    10            WHEREAS, Plaintiffs desire to additional depositions of the eXp Defendants
                    11 employees;
                    12            WHEREAS, the eXp Defendants will be noticing additional third party
                    13 witness depositions;
                    14            WHEREAS, the parties have met and conferred regarding the feasibility to
                    15 complete all necessary discovery prior to the fact discovery deadline of December 6,
                    16 2024;
                    17            WHEREAS, the parties have agreed to continue the scheduling dates for sixty
                    18 (60) days to allow additional time to complete discovery.
                    19 2.         GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER
                    20            A district court has the inherent power to modify deadlines on its docket. See
                    21 Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). This power is “incidental to the
                    22 power inherent in every court to control the disposition of cases on its docket with
                    23 economy of time and effort for itself, for counsel, and for litigants.” Landis, 299
                    24 U.S. at 254; see Dependable Highway Exp., Inc. v. Navigators Ins. Co., 498 F.3d
                    25 1059, 1066 (9th Cir. 2007). This discretion is in keeping with the district courts’
                    26 mandate to construe and apply the Federal Rules of Civil Procedure to “secure the
                    27 just, speedy, and inexpensive determination of every action.” Fed. R. Civ. P. 1

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                         147296282.1                                 5            Case No. 2:23-cv- 01304-AB-AGR
ATTORNEYS AT LAW                                            SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR        Document 197      Filed 10/16/24   Page 6 of 9 Page ID
                                                          #:1813



                     1            A court exercises significant discretion when modifying a scheduling order.
                     2 See C.F. ex rel. Farnan v. Capistrano Unified Sch. Dist., 654 F.3d 975, 984 (9th
                     3 Cir. 2011). Modifying a scheduling order requires a showing of “good cause.” Fed.
                     4 R. Civ. P. 16(b)(4). The good-cause inquiry “primarily considers the diligence of the
                     5 party seeking the amendment.” Branch Banking and Trust Co. v. D.M.S.I., LLC, 871
                     6 F.3d 751, 764 (9th Cir. 2017) (quoting Johnson v. Mammoth Recreations, Inc., 975
                     7 F.2d 604, 609 (9th Cir. 1992)). A party demonstrates good cause by showing that,
                     8 even with the exercise of due diligence, they were unable to meet the timetable set
                     9 forth in the order. See Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir.
                    10 2002).
                    11            In this instance, there are multiple parties who have been working to
                    12 exchange information. Further, the parties have met and conferred on several issues
                    13 regarding a Deposition Protocol and the production of third-party documents.
                    14 Notwithstanding, the parties recently finalized the ESI protocol to facilitate the
                    15 exchange of electronically stored information. Despite these challenges, the parties
                    16 have conducted two depositions of the eXp Defendants’ 30b6 designees and are
                    17 working to schedule additional depositions to complete by the end of the year.
                    18 Further, the parties continue to meet and confer regarding the scheduling of
                    19 Plaintiffs’ depositions, their psychiatric evaluations, third-party depositions and the
                    20 depositions of other defendants. However, the parties recognize that the necessary
                    21 depositions in this matter will not be completed before the current fact discovery
                    22 deadline of December 6, 2024.
                    23            Accordingly, the parties proposed the following modification to the
                    24 Scheduling Order extending dates by sixty (60) days:
                    25        Trial and Final Pretrial                Court Ordered        Proposed New
                    26        Conference Dates                        Dates                Dates
                    27        Trial                                   April 21, 2025       June 20, 2025

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                         147296282.1                                 6            Case No. 2:23-cv- 01304-AB-AGR
ATTORNEYS AT LAW                                            SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR        Document 197      Filed 10/16/24   Page 7 of 9 Page ID
                                                          #:1814



                     1        Final Pretrial Conference               April 4, 2025         June 3, 2025
                     2        Last Day to Amend Pleadings and         May 17, 2024          NA
                     3        add parties
                     4        Non-Expert Discovery Cut-Off            December 6, 2024 February 5, 2025
                     5        Expert Disclosures (Initial)            December 6, 2024 February 5, 2025
                     6        Expert Disclosures (Rebuttal)           December 20,          February 18, 2025
                     7                                                2024
                     8        Expert Discovery Cut-Off                January 10, 2025      March 11, 2025
                     9        Last Day to Hear Motions (Friday)       January 10, 2025      March 11, 2025
                    10        Rule 56
                    11        Deadline to Complete Settlement         January 24, 2025      March 25, 2025
                    12        Conference
                    13        Trial Filing (First Round)              March 14, 2025        May 13, 2025
                    14        Trial Filing (Second round)             March 21, 2025        May 20, 2025
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                    19            IT IS SO STIPULATED:
                    20                                            Respectfully submitted,
                    21 DATED: October 16, 2024                 LEWIS BRISBOIS BISGAARD & SMITH LLP
                    22
                                                               By:         /s/ William E. Pallares
                    23
                                                                     WILLIAM E. PALLARES
                    24                                               Attorneys for Defendants EXP REALTY,
                                                                     LLC, EXP WORLD HOLDINGS, INC.
                    25
                                                                     and GLENN SANFORD
                    26
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                         147296282.1                                 7            Case No. 2:23-cv- 01304-AB-AGR
ATTORNEYS AT LAW                                             SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR   Document 197    Filed 10/16/24   Page 8 of 9 Page ID
                                                     #:1815



                     1 DATED: October 16, 2024         CHESNOFF & SCHONFELD
                     2
                     3                                 By:          /s/ Richard A. Schonfeld
                     4                                        RICHARD A. SCHONFELD
                                                              Attorneys for Defendant MICHAEL L.
                     5                                        BJORKMAN
                     6
                     7 DATED: October 16 2024          PETER K. LEVINE, APLC
                     8
                     9                                 By:          /s/ Peter K. Levine
                                                              PETER K. LEVINE
                    10
                                                              Attorneys for Defendants DAVID S.
                    11                                        GOLDEN
                    12
                    13 DATED: October 16, 2024         PHILLIPS SPALLAS & ANGSTADT LLP

                    14                                 By:          /s/ George Morris
                    15                                        GEORGE MORRIS
                                                              Attorneys for Defendant BRENT GOVE
                    16
                    17 DATED: October 16, 2024         LENZE LAWYERS, PLC
                    18
                    19                                 By:          /s/ Jennifer A. Lenze
                                                              JENNIFER A. LENZE
                    20
                                                              Attorneys for Plaintiffs FABIOLA
                    21                                        ACEVEDO, TAMI SIMS, CHRISTIANA
                                                              LUNDY, JANE DOE 3 and JOHN DOE 1
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                         147296282.1                          8            Case No. 2:23-cv- 01304-AB-AGR
ATTORNEYS AT LAW                                     SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
                   Case 2:23-cv-01304-AB-AGR         Document 197      Filed 10/16/24   Page 9 of 9 Page ID
                                                           #:1816



                     1                                CERTIFICATE OF SERVICE
                     2            I hereby certify that on this 16th day of October, 2024, I electronically filed
                     3 the foregoing SECOND STIPULATION TO MODIFY THE SCHEDULING
                     4 ORDER with the Clerk of the Court using the CM/ECF system.
                     5                                                      /s/ William E. Pallares
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                         147296282.1                                  9             Case No. 2:23-cv- 01304-AB-AGR
ATTORNEYS AT LAW                                             SECOND STIPULATION TO MODIFY THE SCHEDULING ORDER
